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AO 442 (Rev. LLL) Arrest Warrant

UNITED STATES DISTRICT COURT

for the Received
U.S. Marshals Service
Southern District of lowa Southern District of lowa
9:31 am, Mar 18 2025
United States of America

v. )

) Case No. 3:19-cr-00034-SMR-SBJ-2
)
Cody Scott Sheese
)

Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) Cody Scott Sheese >
who is accused of an offense or violation based on the following document filed with the court:

© Indictment © Superseding Indictment O Information © Superseding Information © Complaint
0 Probation Violation Petition a Supervised Release Violation Petition OViolation Notice O Order of the Court

This offense is briefly described as follows:

Petition for Revocation of Supervised Release.

See Attachment.

WARRANT ISSUED
CHANDLOR G. COLLINS, Clerk

Date: 03/18/2025 By

OLPUTY CLERK

City and state: Davenport, lowa Chief U.S. District Judge Stephanie M. Rose

Printed name and title

Return

SLU

This warrant ve received on (date) 3 / 2s , and the person was arrested on (date)

at (city and state) apork J L a
7 7 officer's signature
Cfid Ls

Date: J 3/)y 5 L. 2025"
f 7
Printed name and title ~

